Pete V. Domenici U.S. Courthouse                                                     Case No.: 23−10155−j7
333 Lomas Blvd. NW, Suite 360                                                        Chapter: 7
Albuquerque, NM 87102
505−415−7999/866−291−6805                                                            Judge: Robert H. Jacobvitz
www.nmb.uscourts.gov                                                                 Judge/341 Location: JF

                                     UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW MEXICO

In re Debtor(s):

Lawrence Gerhard Culpepper                                    Valrie Sue Culpepper
 fdba Lawrence Culpepper, LLC                                 2400 Pheasant Street
2400 Pheasant Street                                          Farmington, NM 87401
Farmington, NM 87401                                          SSN/ITIN(if any): xxx−xx−3839
SSN/ITIN(if any): xxx−xx−6626



                                                  FINAL DECREE

The estate of the debtor(s) having been fully administered,

IT IS ORDERED that Edward Alexander Mazel is discharged as trustee of the estate, the bond is cancelled, and this
chapter 7 case is closed.




                                                              Robert H. Jacobvitz
                                                              United States Bankruptcy Judge




nm_finaldecree.jsp




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